 Case 3:15-md-02670-JLS-MDD Document 1378 Filed 09/21/18 PageID.93189 Page 1 of 1


 1
 2
 3
 4
 5
 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   IN RE: PACKAGED SEAFOOD                             Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                         ORDER GRANTING JOINT
11                                                       MOTION FOR EXTENSION OF
                                                         TIME TO FILE SECOND AMENDED
12
                                                         COMPLAINT
13                                                       (ECF No. 1375)
14
15         Presently before the Court is Plaintiff The Cherokee Nation and Defendants Lion
16   Capital LLP, Lion Capital (Americas), Inc. and Lion/Big Catch Cayman LP, Joint Motion
17   for an Extension of Time for The Cherokee Nation to File a Second Amended Complaint
18   (“SAC”). (ECF No. 1375.) The parties conferred and the Defendants do not oppose The
19   Cherokee Nation’s request for a two-week extension of time to file its SAC. Good cause
20   appearing, the Court GRANTS the Joint Motion. The Cherokee Nation SHALL file their
21   SAC on or before October 19, 2018. Defendants will have 30 days to file a responsive
22   pleading after the Plaintiff files their SAC.
23         IT IS SO ORDERED.
24   Dated: September 21, 2018
25
26
27
28

                                                     1
                                                                            15-MD-2670 JLS (MDD)
